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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11    ELBERT E. HIDALGO,                      Case No. 2:20-cv-08406-RGK-PD
 12                       Plaintiff,           JUDGMENT
 13          v.
 14
 15    ENGLE, et. al.,
 16                       Defendants.
 17
 18         Pursuant to the Order Accepting Report and Adopting Findings,
      Conclusions, and Recommendations of United States Magistrate Judge,
 19
            IT IS ADJUDGED that the action is dismissed with prejudice.
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       DATED: September 23, 2021.
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 24
                                         R. GARY KLAUSNER
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                                         UNITED STATES DISTRICT JUDGE
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